                        Case 16-21912-EPK        Doc 52     Filed 02/16/17     Page 1 of 3




         ORDERED in the Southern District of Florida on February 16, 2017.




                                                               Erik P. Kimball, Judge
                                                               United States Bankruptcy Court
_____________________________________________________________________________

                              UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF FLORIDA – WEST PALM BEACH DIVISION

                                                                     CASE NO. 16-21912-EPK
                                                                     CHAPTER 13
        IN RE:

        Luis Javier Reategui,
                      Debtor(s)
        __________________________________/

                     ORDER GRANTING MOTION FOR RELIEF FROM THE
             AUTOMATIC STAY IN FAVOR OF BOSCO CREDIT II TRUST SERIES 2010-1
                 (9498 S MILITARY TRAIL #1, BOYNTON BEACH, FLORIDA 33436)

                THIS CASE came before the Court on Febrary 13, 2017 at 1:00 PM upon the Motion for
        Relief from the Automatic Stay (Docket No. 36) filed by Bosco Credit II Trust Series 2010-1, its
        Successors and/or Assigns (“Secured Creditor”). The Court having heard argument of counsel
        and based on the record, it is
                ORDERED:
              1.     Secured Creditor’s Motion for Relief from the Automatic Stay is GRANTED
              2.     The automatic stay imposed by 11 U.S.C. § 362 is lifted with respect to real property
        located at 9498 S Military Trail #1, Boynton Beach, Florida 33436, and legally described as:




        15-03150 FCMC
        V2.20151217
                Case 16-21912-EPK       Doc 52       Filed 02/16/17   Page 2 of 3




           UNIT   1,   KENSINGTON    GARDENS    CONDOMINIUM,  A
           CONDOMINIUM PURSUANT TO THE DECLARATION OF
           CONDOMINIUM, RECORDED AT OFFICIAL RECORDS BOOK 14184,
           PAGE 655, OF THE PUBLIC RECORDS OF PALM BEACH COUNTY,
           FLORIDA

      3.     This Order lifting the automatic stay is entered for the sole purpose of allowing
Secured Creditor to pursue its lawful in rem remedies as to the property described above and said
Creditor shall neither seek nor obtain an in personam judgment against the Debtor.
      4.        All communications sent by Secured Creditor in connection with proceeding
against the property including, but not limited to, notices required by state law and
communications to offer and provide information with regard to a potential Forbearance
Agreement, Loan Modification, Refinance Agreement, Loss Mitigation Agreement or other Loan
Workout, may be sent directly to the Debtor.
                                               ###

Submitted by:

Taji Foreman, Esquire
Attorney for Secured Creditor
8201 Peters Road, Suite 3000
Plantation, Florida 33324
Telephone: (954) 356-1672
Telefacsimile: (954) 382-5380

Taji Foreman, Esquire is directed to serve copies of this order on the parties listed below and
to file the certificate of service of order.




15-03150 FCMC
V2.20151217
                Case 16-21912-EPK   Doc 52   Filed 02/16/17   Page 3 of 3




Copies furnished to:

Taji Foreman, Esquire
Attorney for Secured Creditor
8201 Peters Road, Suite 3000
Plantation, Florida 33324


Luis Javier Reategui
9498 S Military Trail #1
Boynton Beach, Florida 33436

Ricardo Corona, Esq.
Attorney for Debtor(s)
3899 NW 7th Street, Second Floor
Miami, Florida 33126

Robin Weiner, Trustee
P.O. Box 559007
Fort Lauderdale, Florida 33355

U.S. Trustee
Office of the US Trustee
51 SW 1 Avenue, Suite 1204
Miami, Florida 33130




15-03150 FCMC
V2.20151217
